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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

United States Securities and Exchange Commission,
et al.
                                                      Plaintiff,
v.                                                                 Case No.:
                                                                   1:18−cv−05587
                                                                   Honorable John Z. Lee
Equitybuild, Inc., et al.
                                                      Defendant.



                            NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 4, 2019:


        MINUTE entry before the Honorable Young B. Kim: The Receiver's motion for an
extension of time to file reply [307] is granted. Appearance is not necessary on April 5,
2019, to present this motion. The Receiver now has until April 16, 2019, to file his reply.
In light of this extension, the court's order of April 3, 2019, (R. 305), is amended to the
extent that Defendant Jerome Cohen now has until April 16, 2019, to submit a hard copy
of his 16−page opposition, (R. 301), to Chambers 1000. Mailed notice (ma,)




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